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       Analysis of the Racial Impact of the AccuPlacer Tests on the
          Hiring Process in the City and County of Denver and
                  Estimate of Potential Economic Losses




                                         In the Matter of

      Marian G. Kerner, and Jacobo Gonzales, on behalf of themselves and all others similarly
                                           situated,

                                                v.

                   CITY and COUNTY of DENVER, a municipal corporation.


                             Civil Case No. 11-cv-00256-MSK-KMT




                                           Prepared by

                                     Charles J. Mullin, Ph.D.
                                           ERS Group
                                        Tallahassee, FL

                                         August 27, 2014


                                        EXHIBIT 2
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   I.       Introduction

            I was requested by counsel for the City and County of Denver (hereafter “city”) to review

   AccuPlacer testing data for individuals who applied for certain jobs with the city for the time

   period of March 2007 to March 2008 to determine if there is statistical support for the allegation

   that African American and Hispanic job seekers were impacted differently than Caucasians by

   the AccuPlacer tests. I was also asked to determine what impact, if any, this had on their

   subsequent potential rates of hire and to estimate the corresponding potential economic damages

   that may result if it is determined that the city is liable. I was also asked to evaluate and

   comment on the report of Robert A. Bardwell, Ph.D. and provide an opinion as to whether Dr.

   Bardwell’s analysis is useful in determining if there is statistical support for the plaintiffs’

   allegations, as well as provide an opinion regarding his damage estimates. 1                    My report is

   organized as follows:


        •   Section II contains background information

        •   Section III describes the documents and data received

        •   Section IV contains the analysis of the AccuPlacer test

        •   Section V contains the estimate of potential economic losses

        •   Section VI contains the assessment of Dr. Bardwell’s AccuPlacer test analysis

        •   Section VII contains the assessment of Dr. Bardwell’s calculation of lost earnings and
            benefits

        •   Section VIII contains concluding remarks


   1
    Dr. Bardwell’s report is titled “Report Regarding Impact of Race on the Use of the AccuPlacer Test by the City
   and County Denver for Applicants Seeking Initial Employment and Promotion and Damages Estimate” and is dated
   July 14, 2014.


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          I am a labor economist with extensive experience in statistical analyses of employment

   practices and in the computation of economic loss estimates. I have a Master’s Degree and a

   Ph.D. in economics from The Ohio State University. Since 1997, I have been employed by

   Economic Research Services Group (ERS Group or ERS) in Tallahassee, Florida. ERS Group is

   a research and consulting firm whose professionals work with individuals, government agencies,

   colleges and universities, corporations and other organizations to analyze employment decision-

   making processes and to compute estimates of the value of alleged economic losses. ERS

   charges $410 per hour for my services, including testimony. My vita and testimony within the

   last 4 years are attached to this report as Appendix B. The opinions expressed in this report are

   based on the data and information currently available to me.         Should I receive additional

   information, I may seek to amend this report accordingly.




   II.    Background


          The city/county of Denver is a large and well known metropolitan area within Colorado.

   As part of their hiring process for the various municipal jobs within the city and county during

   the time period in question (March 2007 to March 2008), the city posted various job openings

   and applicants would fill out an application (typically online) for each specific opening as

   desired. If applicants met the minimum qualifications, they would proceed to the next phase of

   the application process. During this time period, the city required, as part of the application

   process, that job seekers take and pass one or two tests prior to becoming eligible for certain job

   openings.   These tests were the AccuPlacer-Writeplacer test and the AccuPlacer-Reading

   Comprehension test. The specific test(s) required was dependent upon the job being sought,



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   though for most jobs, applicants were required to pass both tests in order to be deemed eligible

   for the position. While the tests themselves were the same regardless of the job being sought, the

   scores necessary to “pass” the tests and become eligible did vary by job. For example, applicants

   for an Administrative Support Assistant III classification were deemed to have passed the

   Reading Comprehension test with a score of 60 or higher, while applicants for an Agency

   Support Technician classification were required to score 77 or higher. Required scores varied

   across classification titles from 40 to 80 for the Reading Comprehension test and from 6 to 8 for

   the Writeplacer test. 2 For certain classification titles, applicants were only required to pass one

   of the tests. In most instances where one test was required, it was the Reading Comprehension

   test, but not always. Passing score requirements did not vary by job within a classification. 3 In

   addition, the number of tests required did not vary by classification title. 4 Plaintiffs have alleged

   that the tests were racially biased and therefore proportionately fewer African American and

   Hispanic applicants passed the tests as compared to similarly situated Caucasian applicants.

   Plaintiffs allege that this resulted in fewer African American and Hispanic applicants receiving

   jobs than would have without the test requirements.




   2
    We received electronic data from counsel for defendants that detailed passing requirements for various jobs and
   classification titles. See “All Test Results and Passpoints_rev.xls”
   3
    There was a sole exception to this in that one Administrative Support Assistant III job, “LIEAP Agent (On Call
   ASA III)”, required a score of 70, while other ASA III classification jobs required a score of 60.
   4
    There were two exceptions, one Water Quality Investigator position which required only one test and a Photo
   Enforcement Agent job in classification title Administrative Support Assistant IV which required only one test.


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   III.   Documents and Data Received


   Counsel for defendant provided ERS Group with the following documents and data which

   provide the foundation for this report:

              •   July 14, 2014 Report of Dr. Robert Bardwell

              •   Bardwell Consulting Damage Analysis Workbook.xlsm

              •   Plaintiffs’ and Class Members’ Responses to Defendant’s Second Set of
                  Interrogatories and Request for Production of Documents to Plaintiffs (Merits
                  Discovery)

              •   First Amended Complaint for Damages [Class Action] and Demand for Jury Trial
                  electronically filed on July 18, 2011

              •   U.S. EEOC July 8, 2008 Determination letter

              •   Plaintiffs’ Initial Rule 26(a)(1) Disclosures.pdf

              •   Defendant’s Various Interrogatories and Requests for Production of Documents

              •   Plaintiff’s Various Interrogatories, Requests for Admissions and Requests for
                  Production of Documents

              •   Documents produced in response to Defendant’s First Request for Production of
                  Documents (Plaintiffs’ Bates Nos. 000001-000315)

              •   Plaintiffs’ and Class Members’ Responses to Defendant’s First Set of
                  Interrogatories and Request for Production

              •   Defendant’s Various Disclosures and Discovery Responses to Plaintiffs’ Requests
                  for Production and Plaintiffs’ Interrogatories

              •   Defendant’s Disclosures and Discovery Responses/Kerner_Master_dataset-14-e-
                  Interog A6v2 - 6-13-14.pdf

              •   Defendant’s Disclosures and Discovery Responses/Kerner Production 2B-Payroll-
                  Details-final - 9-6-13.pdf


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           •   Defendant’s Response to Interrogatories 1A, 2A, 3A (Kerner Interog 1A 2A 3A –
               Tested.pdf)

           •   Defendant’s Response to Interrogatories 1A, 2A, 3A, with gender information
               (Kerner Interog 1A 2A 3A-TestedSex_14-d.pdf)

           •   Defendant’s Response to Interrogatory 4A list of hired applicants (Kerner Interog
               4A hired applicants.pdf)

           •   Defendant’s Response to Interrogatory 5A information on Salary and Benefits
               (Kerner Interog 5A-Salary+Benefits 8 28 2013.pdf)

           •   Defendant’s Response to Interrogatory 6A counts of positions, applicants and
               hires (Kerner Interog 6A pos app hir.pdf)

           •   Defendant’s Response to Interrogatory 6A counts of positions, applicants and
               hires by race (Kerner_Master_dataset-14-e-Interog A6v3.pdf)

           •   All Test Results and Passpoints_rev.xls

           •   Index of Applications for AccuPlacer Test

           •   “Kerner Interog 4A hired applicants with Ethnicity.xlsx” and “Kerner Interog 4A
               hired applicants with Ethnicity (4).xlsx”

           •   Individual electronic AccuPlacer test score data for applicants during the January
               2007 to March 2008 time period (“Neogov data - Denver - SF96991 file from
               2013.08.19.xlsx”)

           •   Pay Surveys and Proposed Changes to the Classification and Pay Plan for 2006 to
               2014 time period

           •   Eligibility for Merit Increases and Merit Payments rules effective as of 2007 and
               2008

           •   Merit Increases and Merit Payments rules and Merit Tables effective as of 2011 to
               2014 time period

           •   Pay Ranges Job Titles 2006, 2007, 2014 - 7-24-14 06 to 14.xlsx



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              •   Career Service Rule 3 (Selection)

              •   “On Call hours worked average for 2007 2008 2014.08.18.xls” and “On Call
                  hours worked average for 2014 2014.08.18.xls”, provided by city HR personnel.

              •   July 26, 2007 Affidavit of Yvette Martinez




   IV.    Analysis of the AccuPlacer Test


          I was requested by counsel for the city to review AccuPlacer test results for applicants

   who took the test during the March 2007 to March 2008 time period to determine if there is

   statistical support for Plaintiffs’ allegation that African American and Hispanic job seekers were

   impacted differently than Caucasians by the AccuPlacer tests. An analysis of this type consists

   of a comparison of the race/ethnicity of similarly situated individuals who took the tests to the

   race/ethnicity of individuals who passed the tests to determine if there is a difference in their

   relative proportions. While there is no information on the educational backgrounds or work

   experience of the various individuals who took the tests to determine if they were similarly

   situated, there is information about the positions for which they applied. In this instance, it is

   important to control for the job sought for three reasons. First, it is likely that the applicant pools

   differ for the various jobs because of different educational backgrounds and experiences, and

   therefore different likelihoods of passing the tests. The classification titles at issue in this matter

   include administrative and clerical jobs, public facing customer service jobs, compliance and

   human resource jobs, as well as maintenance and water quality technician jobs. Second, the

   number of points required to pass the tests varied depending upon the classification title of the




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   job sought. 5 The points required to pass the Reading Comprehension test ranged from a low of

   40 for Administrative Support Assistant II to a high of 80 for Contract Compliance Technicians.

   The Writeplacer test pass level ranged from 6 to 8, again depending upon the classification title

   of the position sought. Lastly, the number of tests that applicants were required to pass varied by

   classification title. Of the 21 classification titles at issue, 12 required applicants to pass both

   tests, while the remaining 9 required one test to be passed to become eligible for the position.

   An examination of the individual test results of both the writing and reading tests shows that

   there were differences in the average scores and pass rates by classification title. See Table 1

   below.




   5
    In this case, we are focused on the various classification titles at issue, of which there are 21. While there are
   multiple job titles within a classification title, the pass points required are dependent upon the classification title
   being sought.


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                                                        Table 1
                                              City and County of Denver
                                     Average AccuPlacer Test Scores and Pass Rates
                                                 by Classification Title


                                                      Reading Comprehension               Writeplacer
                   Classification Title           Average Score     Pass Rate    Average Score     Pass Rate
   311 Customer Service Agent                         80.5           77.4%            ---             ---
   Administrative Support Assistant I                 83.1           95.2%            7.8           100.0%
   Administrative Support Assistant II                82.6           98.2%            7.9           94.4%
   Administrative Support Assistant III               87.4           92.0%            8.2           82.9%
   Administrative Support Assistant IV                87.8           84.0%            8.5           76.2%
   Administrative Support Assistant V                 86.7           84.2%            8.2           77.4%
   Agency Support Technician                          91.2           80.9%            8.3           70.5%
   Animal Control Investigator                        84.5           75.8%            ---             ---
   Aviation Customer Service Agent                     ---             ---            7.6           59.5%
   Contract Compliance Technician                     88.3           82.1%            ---             ---
   Eligibility Technician                             87.8           82.1%            8.3           70.7%
   Executive Assistant I                              91.9           84.4%            8.9           81.8%
   Executive Assistant II                             95.6           91.1%            8.9           85.2%
   Fingerprint Identification Clerk                   90.8           93.2%            ---             ---
   Hotline Operator                                   84.4           83.3%            ---             ---
   Human Resources Support Technician                 91.3           83.6%            8.8           88.2%
   Human Resources Technician                         88.7           83.3%            8.9           80.0%
   Maintenance Control Technician                      ---             ---            7.9           60.0%
   Purchasing Technician                              91.8           94.4%            8.1           91.4%
   Vehicle Impound Clerk                              77.6           84.4%            ---             ---
   Water Quality Investigator                         95.3           92.9%            7.9           68.1%




            Table 1 shows that the average test score ranged from 78 (Vehicle Impound Clerk) to 96

   (Executive Assistant II) for the reading comprehension test and from 7.6 (Aviation Customer

   Service Agent) to 8.9 (several titles) for the writing test. The reading comprehension test pass

   rates varied from a low of 76% for Animal Control Investigator applicants to a high of 98% for

   Administrative Support Assistant II applicants. The writing test pass rates varied even more,

   with a low pass rate of 60% for two different titles to a high of 100% for Administrative Support

   Assistant I applicants.           A Chi-square test was also performed to determine if there was a

   difference in the pass rates across the various classification titles. Both the reading and writing

   tests showed statistically significant differences in pass rates across the titles.


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            Since both the average score and the likelihood of passing varied across the classification

   titles of the jobs for which the applicants applied and because the testing requirements varied

   from one classification title to the next, it is important to examine the impact of the test by

   controlling for the classification title that the applicant is seeking. This allows us to determine if

   the test impacted minority applicants similarly across titles. 6                    The preferred method for

   examining selection events is a statistical test known as a Fisher’s Exact test. A Fisher’s Exact

   test is a commonly accepted statistical test that measures the likelihood of differences in

   selection rates between two groups, in this case Caucasian test-takers as compared to African

   American and Hispanic test-takers. 7              We can then determine if the outcome observed is

   statistically significantly different than what is expected in a neutral setting. 8 I received from

   counsel for the defendant information on applicants for the classification titles at issue who took

   or were scheduled to take the AccuPlacer test during the 2007 and early 2008 time period. There

   were 16,355 individual records in the electronic data, including 14,016 records for individuals


   6
    The term minority is used throughout this report. In each instance, the term minority refers only to African
   Americans and Hispanics combined. It does not refer to all minority races and/or ethnicities.
   7
     The Fisher’s Exact test is similar to a Chi-square, but measures the exact probability of achieving a particular
   outcome or any outcome that is worse than that observed. For small sample sizes, the Fisher’s Exact test is superior
   to the Chi-square test because is produces exact probabilities, rather than asymptotic probability estimates. For
   larger samples, the tests will produce nearly identical results.
   8
     When observed differences have a probability of random occurrence that is 5% or less then they are usually labeled
   “Statistically Significant.” Generally, social scientists and the courts conclude that differences between two groups
   (e.g., men compared to women) are statistically significant when the difference has a probability of occurring that is
   less than 5%. Social scientists and statisticians have used criteria of “greater than two or three standard deviations”
   to categorize a result as “statistically significant” for over 75 years. See, for example, Statistics by Freedman,
   Pisani, and Purves. Courts adopted this standard in voting rights cases (e.g., Castaneda v. Partida, 430 U.S. 482, 97
   S. Ct. 1272 (1977)) and carried the standard over to equal employment issues in such cases as Hazelwood School
   District v. U.S., 433 U.S. 299, 308 n.14 (1977) and Teamsters v. U.S., 431 U.S. 324; 97 S. Ct. 1843 (1977). A
   difference between two groups that is less than two (or three) standard deviations is consistent with a greater than
   5% (or 1%) probability of that difference occurring by chance. See also: EEOC v. Federal Reserve Bank of
   Richmond, 698 F.2d 633 (4th Cir. 1983), where the Court indicated that only a difference greater than 3 standard
   deviations confirms an inference of adverse disparity.


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   who were Caucasian, African American or Hispanic. 9                             The test tracking data included

   information on the individual’s name, ID number, job sought, race/ethnicity, the specific

   AccuPlacer test taken, the score and whether or not the applicant passed the test. The data also

   indicated the test date and in some instances a reject reason code. 10 For each applicant and

   position sought, a determination was made with regard to whether the applicant passed the

   required test(s), failed the required test(s), or voluntarily withdrew from the process. Applicants

   who voluntarily withdrew from consideration for a particular position were excluded from the

   analysis of that position. 11 Fisher’s Exact tests comparing Caucasian pass rates to African

   American and Hispanic combined pass rates were conducted for each of the 21 classification

   titles at issue. 12 In instances where an individual applied for multiple position postings within a

   classification title, their multiple test results are retained and analyzed. The testing results are

   analyzed controlling for the position posted and classification title. 13 The results of the Fisher’s

   Exact tests aggregated to classification title can be seen in Table 2 below. 14




   9
     There are records outside the specific time frame at issue and records with no test score, as well as multiple records
   per individual. Therefore, the number of records in the final analysis is significantly fewer than the original data
   received.
   10
     Almost all records with a reject reason code had no test score. Reject reasons included, for example, “withdrew
   from process” or “did not show for testing”.
   11
     Applicants with test dates prior to 3/1/2007 were excluded from the analysis time period. If the test date was
   missing, applicants entering the testing phase of the application process (step entry date) prior to 2/1/2007 were also
   excluded from the analysis.
   12
        For purposes of these analyses, all other races/ethnicities were excluded from the data.
   13
     Analyses were also conducted controlling only for the classification title. Those analyses produced identical
   results with regard to which titles had statistically significant differences and which did not. See Appendix A.
   14
        This analysis uses a multiple events exact probability test, a procedure used to aggregate Fisher Exact tests.


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                                                                           Table 2
                                                                  City and County of Denver
                                                              Analysis of AccuPlacer Pass Rates
                                                                    by Classification Title
                                                    African American and Hispanic v. Caucasian Test Takers

                                                                                                                               Percent
                                                        Number of            Number of                 Number of   Number of   Minority
                                                         Minority            Caucasian      Percent    Minority    Caucasian    Among
               Classification Title                     Test Takers          Test Takers    Minority    Passes      Passes     Passers    Probability
    311 Customer Service Agent                               63                   28         69.3%        44          26        62.9%      0.0169 *
    Administrative Support Assistant I                       18                   17         51.4%        18          17        51.4%      1.0000
    Administrative Support Assistant II                     592                  302         66.2%       536         293        64.7%      0.0003 *
    Administrative Support Assistant III                    595                  354         62.1%       416         310        57.3%      <.0001 *
    Administrative Support Assistant IV                    1340                  868         59.9%       787         658        54.5%      <.0001 *
    Administrative Support Assistant V                       26                   9          74.2%        17          6         73.9%      1.0000
    Agency Support Technician                                28                   16         61.8%        14          13        51.9%      0.0931
    Animal Control Investigator                              32                   49         39.5%        20          40        33.3%      0.0712
    Aviation Customer Service Agent                          18                   17         51.4%        12          11        52.2%      1.0000
    Contract Compliance Technician                           40                   22         63.2%        29          22        56.9%      0.0215 *
    Eligibility Technician                                  529                  219         70.2%       274         164        62.6%      <.0001 *
    Executive Assistant I                                    65                   74         47.0%        39          60        39.4%      0.0046 *
    Executive Assistant II                                   90                   87         51.4%        66          75        46.8%      0.0143 *
    Fingerprint Identification Clerk                         51                   66         43.6%        46          64        41.8%      0.2331
    Hotline Operator                                         8                    3          72.7%        6           3         66.7%      1.0000
    Human Resources Support Technician                       33                   33         50.1%        26          30        46.4%      0.1835
    Human Resources Technician                               6                    4          60.0%        3           3         50.0%      0.5714
    Maintenance Control Technician                           8                    7          53.3%        5           5         50.0%      1.0000
    Purchasing Technician                                    26                   28         48.2%        22          26        45.8%      0.4004
    Vehicle Impound Clerk                                    42                   14         75.0%        34          13        72.3%      0.4239
    Water Quality Investigator                               18                   25         41.6%        12          16        42.9%      1.0000
   * Statistically significant at the 5% level.
   Minority group includes only African American and Hispanic Test Takers.




                  The results of these analyses show that there are 8 classification title groups with

   statistically significant differences unfavorable to minorities and 13 groups which do not show a

   statistically significant difference in the pass rates. Among the classification titles that show a

   statistically significant difference, the differences between the proportion of minorities taking the

   test and the proportion of minorities passing the test ranges from a decrease of 7.6% (for

   Eligibility Technician and Executive Assistant I applicants) to a decrease of 1.6% (for

   Administrative Support Assistant II applicants). For the remaining 13 class titles, there are no

   statistically significant differences. We cannot conclude from these results that the test was

   racially biased, as Dr. Bardwell has incorrectly done, because there may be differences in the job


                                                                                           11
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   qualifications of individuals who took the test. If those differences in job qualifications are also

   correlated with both race and the ability to pass the AccuPlacer test, then those differences in job

   qualifications could explain the different pass rates between minority and Caucasian applicants.

   We can conclude that there is no evidence to support the allegations of racial bias in the test for

   applicants within 13 of the 21 classification titles at issue.




   V.      Estimate of Potential Economic Losses


           In order to calculate the potential economic losses of a class of individuals with regard to

   an allegedly biased test, it is necessary to first determine the number of positions that were likely

   to have been lost by minorities due to the alleged bias. While the AccuPlacer test did not have a

   direct economic impact, it could impact individuals by decreasing the number of positions they

   would expect to receive given their proportion of the relevant pool. For example, if minorities

   represent 50 percent of a given applicant pool, other things being equal we would expect them to

   receive 50 percent of the jobs. If the test decreases their proportion within the resultant applicant

   pool to 30 percent, we would then expect them to receive 30 percent of the jobs. The impact of

   the test is the 20 percent reduction in the number of jobs they would be expected to receive. If in

   our example there were 10 hires, then the expected number of minority hires has decreased by 20

   percent of 10, or 2 hires. That loss of expected hiring enumerates the impact of the test.

           In order to calculate the decrease in expected hiring for minorities due to the test, for each

   classification title in which there was a statistically significant difference with regard to the

   AccuPlacer test results, a shortfall was calculated. As described above, this shortfall is the

   proportionate decrease of minorities in the applicant pool due to the test, multiplied by the



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   number of hires into that particular classification title. 15 As described above, eight of the

   classification titles had statistically significant differences and for each of those eight titles a

   minority shortfall in the expected number of placements is calculated. Those estimated shortfall

   calculations can be seen in Table 3 below.



                                                        Table 3
                                               City and County of Denver
                                                 Shortfall Calculations
                                                 by Classification Title
                                 African American and Hispanic v. Caucasian Test Takers

                                                           Percent            Percent
                                                          Minority            Minority
                                                           Among              Among                   Number of
                   Classification Title                  Test Takers          Passers    Difference     Hires     Shortfall
    311 Customer Service Agent                              69.3%              62.9%        6.4%         16         1.03
    Administrative Support Assistant II                     66.2%              64.7%        1.6%         25         0.39
    Administrative Support Assistant III                    62.1%              57.3%        4.8%         43         2.07
    Administrative Support Assistant IV                     60.0%              54.5%        5.5%         117        6.35
    Contract Compliance Technician                          63.2%              56.9%        6.4%          2         0.13
    Eligibility Technician                                  70.2%              62.6%        7.6%         57         4.34
    Executive Assistant I                                   47.0%              39.4%        7.6%          2         0.15
    Executive Assistant II                                  51.4%              46.8%        4.6%          1         0.05
    Minority group includes only African American and Hispanic Test Takers.




              The shortfall counts range from a low of 0.05 for Executive Assistant II to a high of 6.35

   for Administrative Support Assistant IV. While of course the city could not hire partial people

   and it might be considered odd to consider situations where the shortfall is less than a whole

   person, potential lost earnings are still calculated. In these circumstances, the shortfall can be

   thought of as the probability of hire that was lost. So for example, while the city could not hire

   an additional 0.15 of a person into the Executive Assistant I position, we can think of this as a

   15
     In each case, only Caucasian, African American and Hispanic applicants and hires are considered. All other
   applicants and hires are excluded from these calculations.


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   15% chance they would have hired 1 additional minority and calculate potential lost earnings

   accordingly.

              In order to calculate the potential lost earnings, each of the shortfall counts is multiplied

   by the expected earnings of those jobs. The expected earnings are a function of when the

   employment was expected to begin, the salary and benefits, and how long the individuals are

   expected to remain employed with the city. With regard to employment start date, it is assumed

   that those with lost opportunities would have an average start date equal to the average start date

   by classification title of the individuals that were hired or promoted into these titles during the

   2007 to 2008 time period in question. 16

              The starting salary for each of the classification titles was estimated by calculating the

   average starting salary of the individuals that were hired or promoted into these titles during the

   period in question. 17          Benefit estimates were added based on information provided by the

   defendant that detailed medical and dental benefits, as well as other city provided benefits. 18

   Salaries and benefits for each classification title were then grown based on the historical average

   annual percent wage increase of the individuals who received those classification titles during

   the time period and remained with the city through August 1, 2013. 19 These averages were

   calculated separately for each class title at issue.


   16
     The average start date by title of those hired was determined from the data produced as a response to Plaintiffs’
   Interrogatory 4A and “Kerner Production 2B-Payroll-Details-final - 9-6-13.pdf”
   17
     The average starting salary figures for each title were determined from the data produced as a response to
   Plaintiffs’ Interrogatory 4A and “Kerner Production 2B-Payroll-Details-final - 9-6-13.pdf”. Adjustments were made
   to the average starting salaries for the proportion of positions that were On-Call positions. On-Call positions were
   assumed to work 20 hours per week on average. See “On Call hours worked average for 2007 2008 2014.08.18.xls”
   and “On Call hours worked average for 2014 2014.08.18.xls”, provided by city HR personnel.
   18
        See response to Plaintiffs’ Interrogatory 5A.
   19
        See response to Plaintiffs’ Interrogatory 4A and “Kerner Production 2B-Payroll-Details-final - 9-6-13.pdf”.


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              It is also necessary to calculate the expected employment end date with the city. In

   discrimination cases, if there is some reason to believe the plaintiff(s) would not have worked for

   the defendant for the rest of their career(s), then the defendant is typically liable for the

   plaintiff(s) lost income only during the time that the plaintiff(s) could reasonably be expected to

   work with that employer. We know that the probability that any given worker would choose to

   leave their current employer, leave the labor force entirely, become unemployed, or die in any

   given year is non-zero. Therefore, it is necessary to determine the likelihood that any given

   worker would remain with the city from one year to the next and adjust the expected period of

   employment for these factors.

              Two sources of potential turnover rates were examined. First, turnover projections can

   be found in the Denver Employees Retirement Plan’s most recent Comprehensive Annual

   Financial Report, dated December 31, 2013. This is the plan that governs the retirement for the

   City and County of Denver. The report’s actuarial section details a variety of assumptions

   regarding withdrawal from service that are used in order to properly fund the city’s defined

   benefit plan.      These were revised in 2013 based on an experience study conducted in January

   2013 that examined the 2008-2012 time period. 20                   The report lists rates of separation

   assumptions by years of service. The rates listed are likely slightly underestimated as they do

   not include separation on account of disability or death. These rates indicate it is expected that

   17.9% percent of employees will withdraw from service (either voluntarily or involuntarily)

   within the first year of employment. An additional 15.4% would withdraw the year after that and

   an additional 13.3%, 11.4% and 9.9% would withdraw in each of the subsequent three years. 21

   20
        See December 31, 2013 Comprehensive Annual Financial report, page 56.
   21
     See December 31, 2013 Comprehensive Annual Financial report, page 59. The Financial report lists males and
   females separately. This report lists the average rate across genders.


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   Thus, after 5 years less than a half (48.1%) of the original employees would be expected to

   remain with the city.

          Turnover rates can also be estimated using data on those hired into the classification titles

   with shortfalls during the time period at issue. Examination of this data shows that of the 273

   individuals receiving one of the classification titles posted during the time period, 75 left the city

   within the first year, a turnover rate of 27.5%. The rates of turnover for these individuals in

   subsequent years are 15.2%, 14.9%, 9.1% and 8.5%. It is thus expected that the original shortfall

   of approximately 11 would have fallen to less than 5 people due to departures and terminations

   within 5 years. The potential lost earnings are adjusted in each year to reflect the likely turnover

   rate of individuals who would have received positions.

          Lastly, it is necessary to determine an estimate of mitigation earnings. In the case of a

   single plaintiff, it is typically preferable to use the plaintiff’s actual mitigation, assuming a

   reasonable mitigation effort and reliable information. In the case of a class of plaintiffs, where

   complete and reliable information is not available regarding actual mitigation, it is necessary to

   estimate the average mitigation earnings. The estimated average mitigation earnings are a

   function of several parameters, including when mitigation is assumed to begin, the mitigation

   earnings estimate itself, and its estimated growth rate, if any. It is also necessary to estimate

   when plaintiffs are expected to be able to fully mitigate their annual earnings, i.e. achieve

   earnings on an annual basis equivalent to what they would have received had they not been

   denied employment.

          Given the nature of this case, a shortfall in hiring, it is first necessary to estimate for those

   who were allegedly denied positions with the city when they would obtain alternative

   employment. The U.S. Bureau of Labor Statistics (“BLS”) provides a variety of estimates of



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   unemployment duration, including state specific estimates, estimates by race/ethnicity, as well as

   estimates for specific industries or occupations. The mean duration of unemployment for the

   U.S. in 2007 was 16.8 weeks and for 2008 was 17.9 weeks. 22                          The average duration of

   unemployment for office and administrative support occupations in 2007 was 17.5 weeks and for

   public administration workers the average was 20.3 weeks in 2007. 23 In 2008, those same

   averages were 19.1 and 21 weeks respectively. 24 The mean duration of unemployment for the

   state of Colorado in 2007 was 14 weeks. For African Americans it was 15.7 weeks and for

   Hispanics it was 12.7 weeks. 25 Accordingly, we would expect that the class members would be

   able to obtain employment, on average, approximately 13 to 21 weeks after the time at which

   they were denied employment with the city. The potential lost earnings calculations in this

   report assume that plaintiffs would obtain alternative employment 20 weeks from the start date

   of the lost earnings period for each of the classification titles.

           Mitigation earnings were determined using BLS Occupational Employment Statistics

   (“OES”) estimates for the Denver-Aurora, CO MSA. 26 Each of the classification titles at issue

   was matched, based on job descriptions, to an occupation with similar or lower qualifications and
   22
     Bureau of Labor Statistics, U.S. Department of Labor, Labor Force Statistics from the Current Population Survey.
   “Table 30 - Unemployed total and full-time workers by duration of unemployment.” 2008 Annual Averages.
   http://www.bls.gov/cps/aa2008/cpsaat30.pdf
   23
     Bureau of Labor Statistics, U.S. Department of Labor, Labor Force Statistics from the Current Population Survey.
   “Table 32 - Unemployed persons by occupation, industry, and duration of unemployment.” 2007 Annual Averages.
   http://www.bls.gov/cps/aa2007/cpsaat32.pdf
   24
     Bureau of Labor Statistics, U.S. Department of Labor, Labor Force Statistics from the Current Population Survey.
   “Table 32 - Unemployed persons by occupation, industry, and duration of unemployment.” 2008 Annual Averages.
   http://www.bls.gov/cps/aa2008/cpsaat32.pdf
   25
     Bureau of Labor Statistics, U.S. Department of Labor, Geographic Profile of Employment and Unemployment,
   2007. June 2011. “Table 26 - States: unemployed persons by sex, race, Hispanic or Latino ethnicity, and duration of
   unemployment, 2007 annual averages.” http://www.bls.gov/opub/gp/pdf/gp07full.pdf
   26
     Bureau of Labor Statistics, U.S. Department of Labor, Occupational Employment Statistics. Average annual
   earnings for metropolitan and nonmetropolitan areas available from http://www.bls.gov/oes/tables.htm.


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   responsibilities within the OES survey data to determine the possible alternative earnings for

   individuals in each of the separate titles. For example, individuals who applied for positions

   within the classification title Executive Assistant II were expected to seek and find alternative

   employment in a similar title within the OES survey, namely “Secretaries, except legal, medical,

   and executive”. Initial mitigation earnings estimates for each classification title are based on the

   average 2007 or 2008 annual wages for individuals in the relevant occupational category.

   Mitigating benefits are based on data provided by the BLS that detail benefit rates for U.S.

   workers as a percentage of total compensation for office and administrative support occupations

   for each of the years from 2007 to 2013.27 Mitigation earnings are then grown at the same rate

   Dr. Bardwell used, the annual percent increase in the average hourly wages for U.S. workers. 28

           Lastly, it is necessary to determine when mitigation earnings in the expected alternative

   employment would rise to the level of earnings had the individual been hired by the city. It is

   expected that alternative career paths for any given worker would, on average, converge over

   time in terms of overall earnings and benefits. While there is no publicly available data on

   alternative career paths, economic theory tells us that if, after obtaining new employment, the

   individual’s rate of pay does not represent compensation standards for their skill level, they can

   theoretically pursue new employment that does. An article by Dr. Michael Shahnasarian details

   the theory and notes that forensic economists often assume that plaintiffs will reach parity with




   27
     Bureau of Labor Statistics, U.S. Department of Labor, Employer Costs for Employee Compensation Historical
   Listing, March 2004 to March 2014 (Quarterly). June 11, 2014. “Table 15. Private industry workers, by
   occupational group: employer costs per hours worked for employee compensation and costs as a percentage of total
   compensation, 2004-2014. Office and administrative support occupations.”
   http://www.bls.gov/ncs/ect/sp/ececqrtn.pdf
   28
    Bureau of Labor Statistics, U.S. Department of Labor, Total Private Average Hourly Earnings of Production and
   Nonsupervisory Employees - Not Seasonally Adjusted - CEU0500000008.


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   former compensation levels in 3 to 5 years. 29 Potential economic losses here are assumed to end

   5 years after they begin, at which point it is assumed that those denied employment would be

   able to fully mitigate their damages going forward on an annual basis. While some class

   members would not have fully mitigated their losses and some would have mitigation that

   exceeds their lost earnings, it is assumed that on average individuals would achieve the same

   level of experience and qualifications that they would have if they had been employed with the

   city and would have achieved a level of salary and benefits commensurate with those experience

   and qualifications.

           A summary of the potential economic losses for each of the classification titles with

   shortfalls is listed below in Table 4. The overall potential economic losses are estimated to be

   $310,695.

                                              Table 4
                                     City and County of Denver
                                      Potential Lost Earnings
                                       by Classification Title


                                                                            Potential Lost
                    Classification Title                      Shortfall       Earnings
                    311 Customer Service Agent                  1.03        $     33,212
                    Administrative Support Assistant II         0.39        $       7,483
                    Administrative Support Assistant III        2.07        $     30,660
                    Administrative Support Assistant IV         6.35        $ 127,077
                    Contract Compliance Technician              0.13        $       4,305
                    Eligibility Technician                      4.34        $     99,850
                    Executive Assistant I                       0.15        $       4,804
                    Executive Assistant II                      0.05        $       3,304

                    Total                                       14.51        $    310,695

   29
    Shahnasarian, Michael. Front Pay Damage Assessment: A Summary of Vocational and Psychological
   Considerations in Journal of Forensic Economics, Volume XVI, no. 2, 2003.


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   VI.        Assessment of Dr. Bardwell’s AccuPlacer Test Analysis

              I was also asked by counsel for the city to review and provide an opinion with regard to

   the July 14, 2014 report prepared by Dr. Bardwell. Dr. Bardwell analyzed the impact of the

   AccuPlacer test on African American and Hispanic applicants. In addition, he also prepared an

   estimate of monetary damages to Plaintiffs based on the impact. Dr. Bardwell’s report suffers

   from a number of critical flaws with regard to his methodology and data which cause his analysis

   of the AccuPlacer test impact to be misleading. These flaws consequently cause him to greatly

   overstate the potential economic damages. In addition, his monetary damage assessment relies

   on a number of assumptions which are without proper foundation. These assumptions further

   inflate his damage assessment. Accordingly, his report is unreliable as a basis for understanding

   the impact of the AccuPlacer test or for assessing the potential economic damages for Plaintiffs.



   Dr. Bardwell’s Methodology is Flawed

              Dr. Bardwell’s July 14 report details the analyses he conducted with regard to the

   AccuPlacer tests. In summary, Dr. Bardwell conducted Chi-square tests of the entire set of test

   takers combined across all jobs to determine if there was an overall disparity in the pass rates of

   African American and/or Hispanic applicants as compared to Caucasians. Based on the results

   of these tests, Dr. Bardwell concludes “…that the AccuPlacer has a consistent preferential

   impact on white applicants and corresponding negative impact on non-white applicants.” 30

              Dr. Bardwell’s analysis, and subsequent conclusion, suffers from a number of flaws,

   chief among them being that Dr. Bardwell did not analyze the testing data by classification title.

   Rather, his analysis assumes that all applicants were similarly situated both with regard to


   30
        July 14, 2014 report of Dr. Bardwell, page 12.


                                                         20
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   education and experience and other qualifications, and with regard to the conditions required to

   pass the test(s) and become eligible for employment. His analysis ignores the fact that 1)

   applicants for different jobs or classification titles are very likely to have different qualifications,

   2) the number of points required to pass the tests changed depending upon the classification title

   of the position being sought and 3) the classification titles did not all require the same number or

   type of tests be taken. Thus two individuals with the same score could have different pass/fail

   outcomes if they applied for different jobs and should therefore be examined separately. In

   addition, his analysis ignores the process by which applicants were chosen for specific openings;

   namely that applicants competed for jobs with other applicants who were applying for the same

   opening(s). 31 They did not compete against all other applicants, only against those who applied

   for similar positions. It is not clear whether Dr. Bardwell had the data necessary to perform the

   analysis by job or classification title or to even properly determine which individuals passed the

   testing requirements for a particular position. His report does not list nor describe any electronic

   data files he received, so he may not have been able to perform analyses at a more detailed level.

   Regardless, his analysis as conducted is inadequate for the purpose of determining whether or

   not there is support for the Plaintiffs’ allegations that the test disproportionately impacted all

   African American and Hispanic applicants.



   Dr. Bardwell’s Data are Incomplete

           Dr. Bardwell’s analysis is also flawed in that the data upon which he relied for his

   analysis appear to be incomplete. I received electronic test result data which includes over

   14,000 records for Caucasians, African Americans or Hispanics. While the data contain a

   31
     See Rule 3 Selection, Rules Revision memo 18C, effective 5/4/2007. Section 3-30, Part A. Also, Rule 3
   Recruitment and Examination, effective 3/15/2006, Section 3-23.


                                                         21
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   number of duplicate records, records without test results, and records outside the time frame of

   interest, it still contains significantly more records than the data upon which Dr. Bardwell relied.

   In addition, in order to determine how an applicant was impacted by the AccuPlacer tests, it is

   necessary to evaluate each applicant’s set of test records given the job they sought. In short, his

   analysis appears to have relied upon data which is missing a large number of observations and is

   not at the level of detail necessary to conduct a proper analysis. Therefore any conclusions

   drawn from the analysis of this data are suspect and possibly misleading.



   Dr. Bardwell’s Use of a One-Tailed Test

          Dr. Bardwell’s analysis is also flawed in his use of a one-tail test as opposed to a two-tail

   test. While Dr. Bardwell is correct in asserting that only excess disqualification of minorities

   would be probative in terms of the question of whether or not damages are due, the true question

   is, was the AccuPlacer test race neutral. We do not know if the AccuPlacer test favored minority

   applicants, favored Caucasian applicants, or was race neutral.           This information is very

   probative, particularly if the analyses are conducted by title, as it helps to determine if there was

   a consistent pattern of statistically significant race impact in either direction. Typically, the

   question is largely moot, as both social scientists and courts have relied upon a 5 percent level

   (when using a two-tail test) to define statistical significance. When the hypothesis calls for a

   one-tail test, both social scientists and the courts have relied upon a 2.5 percent level to define

   statistical significance. When testing at the two standard deviation level, which a number of

   courts including The Supreme Court have adopted as appropriate, each of the tails of a

   distribution contain approximately 2.5 percent of the distribution. Accordingly, when social

   scientists perform a one-tail test, they adopt the 2.5 percent level as the threshold for statistical



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   significance. In this instance, Dr. Bardwell has advocated for the use of a one-tail test and a 5

   percent significance level. His justification for such a decision is that the statistical significance

   test standard that is more likely to find a violation of the assumption is the preferred test. 32 In

   other words, the test that is more likely to cause an inference of discrimination is the preferable

   test. By Dr. Bardwell’s stated logic, there is no reason not to use a test with a 20 percent, or even

   a 50 percent significance level. He states that “the objective of any statistical hypothesis testing

   should be to successfully identify a likely violation of our assumptions”. 33 This is a misleading

   statement at best. The objective of hypothesis testing is not only to correctly identify likely

   violations of our assumptions, but to also correctly identify non-violations of our assumptions.

   All hypothesis testing involves risk of both false positives and false negatives, and the goal is to

   minimize the risk of either, despite their being at cross purposes. 34 As Dr. Bardwell notes, this

   would have no impact on the conclusions he draws from his analyses. However, this is not a

   justification for his misapplication of generally accepted standards.                     The proper analysis

   conducted by title could be impacted by his incorrect use of a one-tail test and a 5 percent level

   for statistical significance, which is contrary to the widely accepted standards of both social

   scientists and federal courts. 35

                Dr. Bardwell’s analysis of the AccuPlacer test suffers from several critical flaws. He

   relied upon incomplete data that does not contain many of the test results that need to be

   examined. He performed a one tail test at the 5 percent level of threshold for significance, which

   32
        See July 14, 2014 report of Dr. Bardwell, footnote 8, page 5.
   33
        Ibid.
   34
     See for example, Statistical Reasoning in Law and Public Policy, Volume I, Joseph L. Gastwirth, Academic Press,
   Inc., pages 132-133. For a complete discussion of Type I and Type II error in statistics, see Using Econometrics: A
   Practical Guide, A.H. Studenmund, Harper Collins Publishers, pages 132-139.
   35
        See “Reference Manual on Scientific Evidence”, Third Edition. Federal Judicial Center, 2011, pages 255-256.


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   is contrary to generally accepted scientific principles and federal courts.       Lastly and most

   critically, he did not analyze the test in the manner it was used by the city, which was to compare

   individuals within applicant pools by job. Each of the classification titles had different applicant

   pools and different testing requirements, none of which were examined by Dr. Bardwell. Dr.

   Bardwell did not at any time analyze similarly situated individuals, and his analysis that lumps

   all applicants and test takers into one single pool is not useful in determining if there was a

   pattern by which individuals applying for different titles were impacted similarly. Accordingly,

   his analysis is not useful in determining if there is support for the Plaintiffs’ allegations that

   African Americans and Hispanics within the different applicant pools were negatively impacted

   by the test and therefore less likely to obtain the positions they sought.




   VII.   Dr. Bardwell’s Calculation of Lost Earnings and Benefits

          I was also asked by counsel for the city to review and comment on the damage analysis

   contained in Dr. Bardwell’s report. Dr. Bardwell calculates damages by examining the job(s) for

   which each plaintiff applied as the basis for the salary and benefits each plaintiff would have

   potentially received. He then assumes that each plaintiff would remain employed and would

   continue to suffer lost earnings and benefits from the potential date of hire, either 2007 or 2008

   depending on when they applied, until the end of the year 2023, approximately 16 to 17 years.

   He offsets these lost earnings and benefits with mitigation earnings which have been

   extrapolated across all 926 class members based on the actual mitigation earnings of 25 of the

   plaintiffs. After summing the lost earnings and benefits across class members, he adjusts the

   total figure based on the probability of being hired, which is identical for all class members. The



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   probability of being hired is based on a combination of the results from his chi-square test and

   the number of positions which the city posted during the time period. His total damage estimate

   is $18,353,924. 36

              Dr. Bardwell’s damage analysis suffers from a number of flaws, some of which are based

   on his methodology and some of which are based on his assumptions. Overall, his methodology

   and assumptions serve to significantly inflate the potential economic damages and his estimate is

   unreliable due to these errors.



   Dr. Bardwell Incorrectly Assumes that All Minorities were Impacted by the AccuPlacer Test

              Dr. Bardwell’s first error is that he incorrectly assumes that every plaintiff was similarly

   impacted by the use of the AccuPlacer test. His damage analysis is based in large part on his

   statistical analysis of the AccuPlacer test and the estimated shortfalls which result. This analysis

   assumes that every individual who applied for a position with the city was lumped into one large

   group and considered collectively. This would mean that not only was every minority applicant

   impacted by the AccuPlacer test, but that every minority applicant was impacted in the exact

   same way. This is not true and does not remotely model the process through which individuals

   were placed into jobs.             As has been noted earlier in this report, there are a number of

   classification titles in which the AccuPlacer test had no statistically significant impact by race or

   ethnicity on the pool of applicants considered for hire or promotion. For example, all the

   Administrative Assistant I applicants, 17 Caucasian and 18 African American or Hispanic

   applicants, passed the test. Therefore, there could not have been any impact from the test for this

   group of applicants. Similarly, there is no support for lost earnings for applicants for positions


   36
        See July 14, 2014 report of Dr. Bardwell, page 4.


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   where there was no statistically significant difference in the pass rates, because these differences

   can be attributed to random chance. Further, there are a number of positions posted during this

   time period which the city inevitably chose not to fill. Regardless of the AccuPlacer impact on

   the applicant pool, there can be no lost potential earnings if no one (including no Caucasian

   applicants) was hired into the position as there can be no minority shortfall in those instances.

           Because each of the various positions was considered separately, the preferred

   methodology is to determine the potential shortfalls by classification title, specifically focusing

   on those in which the AccuPlacer had a statistically significant impact by race or ethnicity. For

   each classification title in which there was a statistically significant difference in pass rates, one

   can then determine the potential shortfall in hiring for that title by increasing the proportion of

   minorities in the applicant pool to what it would have been without the AccuPlacer tests. These

   shortfall counts should then form the basis for the potential economic damages.



   Dr. Bardwell Incorrectly Bases the Damages on Positions Posted Rather than Positions Filled

           Dr. Bardwell’s second critical flaw in calculating the potential economic damages is to

   base the overall minority shortfall on the number of positions for which the city posted openings,

   not the number of positions which it eventually filled. By focusing on the number of posted

   positions (608) instead of the actual number of hires and promotions (298), this assumption

   serves to significantly inflate Dr. Bardwell’s damage estimate. 37 This critical error alone inflates

   Dr. Bardwell’s damage estimate by over $9.3 million.




   37
     Dr. Bardwell’s count of positions in his backup file (Bardwell Consulting Damage Analysis Workbook.xlsm) is
   608. The source document that provided that information is “Kerner Interog 6A pos app hir.pdf”. That document
   also provides the number of hires, 298.


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              As part of Dr. Bardwell’s damage estimate, he calculates the probability of being

   hired/promoted for each class member. This is the same number for each class member and Dr.

   Bardwell’s report states the following: “This multiplier is the percentage of Plaintiffs who should

   have passed the test if it had been race-neutral times the number of positions available divided by

   the number of applicants who passed the test.” 38 In short, Dr. Bardwell assumes that the

   increased number of minorities who would have passed the test had it been race-neutral would

   have an equal chance at the number of “positions posted”, not the number of positions filled. Dr.

   Bardwell justifies this decision as follows: “The number of positions is used rather than the

   number of hires because it is unclear what would limit the number of hires below the number of

   positions for which Defendant sought applicants. In addition, Plaintiffs who were disqualified

   by the AccuPlacer test may have been qualified and able to fill the positions that were available

   but for which no applicant was hired. For these reasons, the number of positions offered was

   used to compute the Plaintiffs’ chances of being hired had they passed the AccuPlacer test.” 39

              Dr. Bardwell’s justification is flawed for a number of reasons. While not expressly

   stated, his assertion implies that because it is unclear what might cause the city to hire fewer

   individuals than the number of postings, it apparently must be some form of discrimination in

   hiring. In other words, absent the test’s alleged disparate impact, the city would have hired more

   individuals simply because there were additional qualified minorities.        This logic fails for

   multiple reasons. First, Plaintiffs have made no direct complaint regarding the job assignment

   process or results of the process aside from the impact of the AccuPlacer test. The Complaint

   has no mention of a racial impact in hiring or promotion for those individuals that passed the


   38
        See July 14, 2014 report of Dr. Bardwell, pages 7-8.
   39
        See July 14, 2014 report of Dr. Bardwell, page 8, footnote 21.


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   AccuPlacer test, only those that failed. Thus, there is no reason to assume, as Dr. Bardwell has

   done, that the city would have chosen to hire individuals for unfilled posted positions if there had

   been additional qualified minority candidates. Second, in nearly every instance where there were

   posted positions that went unfilled, there were Caucasian candidates available who had passed

   the AccuPlacer tests. 40 Nevertheless, the city chose not to fill those positions. Dr. Bardwell

   assumes that if there had been additional qualified minority candidates, they would have received

   a proportion of those jobs; jobs that the city chose not to fill even though it had qualified

   Caucasian candidates. There is no reason to believe the city would have chosen qualified

   minority candidates over qualified Caucasian candidates it chose not to hire anyway.                                 An

   alternative to Dr. Bardwell’s implied assertion is that these positions went unfilled for other, non-

   discriminatory reasons. Individuals who were within the HR department of the city during the

   time period in question indicated that there are a number of reasons that a posted position might

   go unfilled. Those reasons include a “90 day rule”, which required that hiring be done within 90

   days of when a job was posted; otherwise a new posting was required. In some instances,

   unfilled jobs were never re-posted and remained unfilled. Budget cuts also curtailed expected

   hiring.    HR personnel also indicated that “series recruitment”, posting a large number of

   positions for a specific job type, was common and the number of positions posted was based on

   an educated guess of how many positions were needed. If the true number was less than this

   estimate, posted positions went unfilled. Postings often went unfilled either due to less turnover

   than expected in a position, and thus decreased need, or a change in the scope of the position,

   which would cause a new posting to be issued. It is also notable that the document upon which

   Dr. Bardwell relied also indicates that “"Positions" is the count of position numbers attached to a

   40
     There were 63 instances in which the city hired fewer individuals than the specific posting called for. In 60 of
   those cases, there were Caucasian applicants who passed the test and were available for hire.


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   recruitment. Some positions could be attached to multiple recruitments.” 41 This indicates that

   some of the position counts on this document are likely to be unreliable due to double counting,

   and do not reflect a true count of the number of positions which were available.

              In short, Dr. Bardwell’s contention that “…it is unclear what would limit the number of

   hires below the number of positions…” is based on a lack of knowledge about the city’s posting

   and hiring processes. His shortfall estimate does not accurately reflect the additional number of

   minority hires expected absent the AccuPlacer test. Thus, his damage estimate based on the

   number of positions posted during the time period as opposed to the number of individuals

   actually hired is vastly inflated and unreliable.



   Dr. Bardwell’s Assumption Regarding the Damage Time Period Length Have No Foundation

              Dr. Bardwell’s estimate of potential economic losses is also significantly inflated by his

   assumption with regard to how long plaintiffs would have been employed by the city and his

   assumptions regarding mitigation. In discrimination cases, unlike personal injury cases, when

   there is some expectation that the plaintiff(s) would not have worked for the defendant for the

   rest of their careers, then the defendant is considered liable for the lost income only during the

   time that the plaintiff(s) could reasonably be expected to work for the defendant. 42 Dr. Bardwell

   has assumed that the plaintiffs who were denied employment would have remained employed

   with the city from their hire date (which he assumes would be 30 days after their application

   date) through the year 2023. As most of the positions at issue were filled in 2007, Dr. Bardwell


   41
        See “Kerner Interog 6A pos app hir.pdf”
   42
     See White, Paul F., Josefina V. Tranfa-Abboud and Frederick M. Holt. The Use of Attrition Rates for Economic
   Loss Calculations in Employment Discrimination Cases: A Hypothetical Case Study, in Journal of Forensic
   Economics, Volume XVI, no. 2, 2003.


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   is assuming an average term of employment with the city of over 16 years. He provides no basis

   in his report for his assumption that those denied employment would remain employed during

   the entire back pay period and provides no basis for his assumption that they would continue to

   remain employed at the city for an additional 10 years into the future. There are a number of

   methods which provide a foundation for the decision of determining how long damages should

   continue. One possibility is to estimate the potential employment period based on the turnover

   rates for the employer for individuals in the job(s) in question. 43 In this case, the information

   provided by the city indicates that the turnover rates for individuals who began in one of the

   classification titles at issue during this time period range from 8% to 27% in the first 5 years after

   receiving these jobs. After 5 years, approximately 44% of the individuals in these classification

   titles would be expected to remain employed with the city. To the extent that information is

   unavailable, another methodology is to use publicly available information to estimate turnover

   rates. BLS information on average turnover rate is available for U.S. workers. For example, the

   average annual turnover rate from 2007-2013 for all state and local government industry workers

   ranged from 14.7 to 16.4 percent. 44 Based on these rates, it is expected that after 7 years, less

   than 30% of state and local government workers would remain with their employer. The Denver

   Employees Retirement Plan, which governs the defined benefit plan for the city and county

   employees, also produces annual reports which are publicly available. These reports’ actuarial




   43
     See White, Paul F., Josefina V. Tranfa-Abboud and Frederick M. Holt. The Use of Attrition Rates for Economic
   Loss Calculations in Employment Discrimination Cases: A Hypothetical Case Study, in Journal of Forensic
   Economics, Volume XVI, no. 2, 2003.
   44
    The annual total separations (turnover) rate is the number of total separations during the entire year as a percent of
   annual average employment. Bureau of Labor Statistics, U.S. Department of Labor, Job Openings and Labor
   Turnover Survey – Annual total separations rates – State and local government – Not seasonally adjusted –
   JTU92000000TSR.


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   sections detail estimates of expected turnover rates. A review of these estimates show expected

   turnover rates similar to those from both the BLS surveys and the internal city data.

           There are also a number of academic papers that discuss the issue of job turnover and

   attrition. For example, an article by Robert Trout discusses the probability of remaining with a

   given employer year over year and estimates that probability at 86 percent. 45 At that rate, the

   probability of remaining with a given employer after 7 years has fallen below 35 percent, and

   after 10 years has fallen to 22 percent. The probability of any given employee remaining with

   their employer for the next 17 years, as Dr. Bardwell assumes all of the class members here will

   do with certainty, is less than 8 percent. Dr. Bardwell’s arbitrary choice of 10 years of front pay

   and an expected average tenure of approximately 17 years for each employee is unrealistic and

   has no foundation. A number of possible data sources were available to guide Dr. Bardwell in

   his estimate of work-life duration; however he chose to use none of them. Data from publicly

   available sources (both city of Denver specific as well as other publicly available data) and

   academic research both indicate that Dr. Bardwell’s assumptions regarding work-life expectancy

   are excessive and lead to inflated lost earnings estimates.



   Dr. Bardwell’s Estimate of Mitigation Earnings is Scientifically Unreliable

           In order to correctly calculate the amount necessary to “make Plaintiffs whole”, it is

   standard practice that economic losses be offset, or mitigated, by the pay and benefits that could

   have been reasonably obtained from alternative employment. Dr. Bardwell does reduce the

   Plaintiffs’ potential lost earnings by an estimate of their mitigation earnings over this same time

   period. However, Dr. Bardwell’s methodology for estimating the mitigation for the entire set of

   45
    See Trout, Robert R. Duration of Employment: Update Analysis, in Journal of Forensic Economics, Volume
   XVI, no. 2, 2003.


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   Plaintiffs is based on a small non-random sample, and therefore unreliable and misleading. Once

   again, his choice of methodology serves to significantly increase the damages compared to the

   alternative approach.

          Dr. Bardwell’s methodology is to calculate a damage amount for each of 926 class

   members. The potential lost earnings amount for each individual is essentially the difference

   between the earnings in the job for which they applied at the city and the mitigation they earned.

   As Dr. Bardwell did not have historical mitigation information for each plaintiff, he needed to

   estimate it. The mitigation for each of the 926 class members is based solely on the mitigation

   information supplied by 25 of those class members. It is not clear how those 25 individuals were

   selected, however it appears they may have been the individuals who responded to the various

   interrogatories requesting such information. While it is unknown how the information came to

   be supplied to Dr. Bardwell specifically for those and only those 25 individuals, it is clear that

   this was a non-random group and therefore likely to not be representative of the entire group of

   class members. Further, even were this group constructed in a random fashion, the number of

   individuals is scientifically inadequate for any type of conclusion or estimation across the entire

   set of class members as a whole. The scientifically acceptable sample size needed to estimate an

   average for a group is a function of several parameters, including size of the overall population,

   desired confidence level, amount of acceptable error of the estimate and an initial estimate of the

   standard deviation. As an example, if one wanted to be 95 percent confident that the estimate of

   average annual wages from a sample was within $1,000 of the true estimate and assumed a

   standard deviation of $10,000, for a population of 926 people, one would need a sample of 272

   individuals. Dr. Bardwell’s non-random sample of 25 Plaintiffs is insufficient and has a high

   probability of leading to a biased damage estimate.



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              A more reliable alternative would be to estimate class-wide mitigation based on a

   statistically valid survey. The BLS conducts statistically valid surveys which measure average

   earnings for a variety of geographies and a variety of occupations. For example, BLS provides

   OES on average earnings for workers for each of the years 2007-2013 for Denver, CO by

   occupation. 46 Unlike Dr. Bardwell’s methodology, the OES survey data are conducted using

   adequate sample sizes for drawing scientifically valid conclusions. Mitigation estimates using

   these surveys are much more reliable than those provided by Dr. Bardwell, whose class-wide

   estimate based on the 25 non-randomly drawn Plaintiffs who responded to certain interrogatories

   is unreliable and biased.



   Dr. Bardwell Assumes that Plaintiffs will Never Fully Mitigate

              In addition to Dr. Bardwell’s misleading source for initial mitigation earnings inflating

   his damage estimate, his mitigation assumptions also assume that plaintiffs will never fully

   mitigate their damages on an annual basis. His mitigation estimates that are extrapolated from

   his sample of 25 class members are grown at a rate similar to the estimated lost earnings with the

   city and therefore the gap between the two remains significant, and in fact gets larger, during the

   entire 17 years over which his damages are projected. Assuming that the class members in

   question were qualified for the positions for which they applied with the city, we would expect

   that they would eventually obtain employment commensurate with that skill level. Therefore, in

   time, we would expect them to be able to achieve, on an annual basis, a salary that is similar to

   the positions they sought. While there is no publicly available data that enumerates the amount

   of time that it takes to achieve parity with a lost employment opportunity, there is forensic


   46
        OES data surveys data for the Denver-Aurora, CO MSA.


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   research on the topic. An article by Dr. Michael Shahnasarian indicates that for displaced

   workers, “…a period of 3 to 5 years generally suffices for an individual to reestablish his or her

   career development and stature to previous levels.” 47 While this case involves hiring/promotion

   and not terminated or displaced workers, many of the considerations are similar, and Dr.

   Shahnasarian’s estimate of 3 to 5 years is very different from Dr. Bardwell’s assumption that the

   pay gap would persist and in fact grow for 17 consecutive years.



   Dr. Bardwell Incorrectly Bases Lost Earnings on Salary Midpoints, not Starting Salaries

           Dr. Bardwell’s estimate of lost earnings is created by assuming that the individuals who

   were hired or promoted into the jobs they sought would have received salaries at the midpoint of

   the range for each specific title. It is highly unlikely that those impacted by the test would

   receive starting salaries at the midpoint of the range. It is much more likely they would have

   received lower starting salaries. First, these are individuals being placed into these jobs for the

   first time, either through new hire or promotion into these jobs. Second, the data on individuals

   who did receive these jobs around the time period in question show that in each instance, they

   received lower initial salaries than Dr. Bardwell used for his damage estimate. For example, Dr.

   Bardwell assumed that the 2007 salary for 311 Customer Service Agents would be $35,518. A

   review of the hired applicant data shows 15 individuals hired into this position around the time

   period, 11 in 2007 and 4 in 2008. Every one of the 2007 hires received a starting salary of

   $28,464 and every one of the 2008 hires received a salary of $28,749. Thus, Dr. Bardwell

   overestimates the starting salaries of all 311 Customer Service Agents by more than $7,000. Dr.



   47
    See Shahnasarian, Michael. Front Pay Damage Assessment: A Summary of Vocational and Psychological
   Considerations in Journal of Forensic Economics, Volume XVI, no. 2, 2003.


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   Bardwell’s reliance on midpoint salary data as starting salaries produces a similar overestimation

   for each of the titles.



   Dr. Bardwell Makes No Adjustment to Lost Earnings for On-Call Positions

              Dr. Bardwell’s estimate of lost earnings assumes that each of the positions at issue is a

   full time position. Based on the data provided, this assumption is incorrect. 48 The data detailing

   those hired or promoted during the time period shows that 8 of the 46 Administrative Support

   Assistant III positions were for Half-Time or On-Call positions and that more than half (61 of

   120) of the Administrative Support Assistant IV positions were On-Call jobs. Payroll data from

   the city indicates that employees in on-call positions average approximately 20 hours per week. 49

   Further, it is my understanding that individuals in these positions do not receive benefits. Dr.

   Bardwell made no adjustment to his lost earnings estimates to account for the lower earnings and

   benefits of individuals in on-call positions.          This once again serves to inflate his damage

   estimate.



   Dr. Bardwell Calculates Damages for Individuals Who Were Hired by the City

              Dr. Bardwell assumes (or appears to assume) that none of the individual class members

   for whom he calculates damages received any of the jobs in question, and therefore have the

   same likelihood of receiving positions as all other class members. An investigation of the

   detailed hiring information reveals that at least 17 individuals, plus named plaintiff Marian

   Kerner, were hired by the city in some capacity. In fact, there are five individuals who were still

   48
        See Kerner_Master_dataset-14-e-Interog A6v3.pdf
   49
     See “On Call hours worked average for 2007 2008 2014.08.18.xls” and “On Call hours worked average for 2014
   2014.08.18.xls”, provided by city HR personnel.


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   employed with the city as of August 1, 2013. 50 Nevertheless, Dr. Bardwell calculates and

   includes full damages for each of those individuals. Further, he does not include any mitigation

   information for any of these individuals (including those still employed) in calculating the

   average mitigation level across all class members. 51 Once again, calculating full damages for 17

   years for class members who received employment with the city and therefore do not appear to

   be due full damages only serves to inflate Dr. Bardwell’s estimate of lost earnings.



   Dr. Bardwell’s Does Not Use a Low Risk Interest Rate in his Estimation

              Dr. Bardwell’s use of high grade municipal bonds as the source for his estimated interest

   also serves to overestimate potential damages. The expert’s use of an interest rate to account for

   lost interest on damages should reflect an interest rate that is not only achievable by the

   individual, but that is also relatively risk free, to reflect the fact that the individual is certain to

   receive the “interest” as part of the damages settlement. The rate from high grade municipal

   bonds is a rate that cannot be obtained by individuals without risk. A more appropriate rate is a

   U.S. government treasury bill. 52 U.S. backed bonds have a much lower risk of default and are

   essentially risk free. This is a more appropriate rate to use in a situation in which one wants to

   calculate a certain payoff, such as when estimating damages to be paid to a class.




   50
     Jennifer Casanova hired 12/12/07, Aubrey Hill hired 2/19/08, Crystal Reyes hired 6/4/07, Ramsy Reyes hired
   6/4/07 and Elizabeth Torres hired 5/7/07.
   51
        The exception is Marian Kerner, for whom he averages in approximately $3,500 of annual mitigation earnings.
   52
     See Gerald Martin, Ph.D., Determining Economic Damages, Revision 21 (07/09), page 11-7. “Most economists
   use U.S. Government Bonds as the standard investment vehicle for the plaintiff. Others use U.S. Government Bills,
   which are the short term treasury securities, or U.S. Government notes, the intermediate securities.”


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   VIII. Concluding Remarks

          I was requested by counsel for the City and County of Denver to analyze AccuPlacer

   testing data for individuals who applied for jobs with the city from March 2007 to March 2008 to

   determine if there is statistical support for the allegation that African Americans and Hispanics

   were impacted differently than Caucasians by the tests. I was also asked to estimate the potential

   economic damages that may have resulted from the test’s impact if it is determined that the city

   is liable. I was also asked to evaluate and comment on the report of Robert A. Bardwell, Ph.D.

   and provide an opinion as to whether Dr. Bardwell’s analysis is useful in determining if there is

   statistical support for the plaintiffs’ allegations, as well as provide an opinion regarding his

   damage estimate.

          The AccuPlacer tests were administered to individuals seeking certain classification titles

   with the city during the time period in question.        Individuals who passed the tests were

   considered eligible for employment and continued through the process for potential employment.

   Those who failed the tests were no longer considered eligible for the position for which they

   applied. While the tests were identical regardless of the position sought, both the number of tests

   and the requirements for passing the tests were different depending upon the classification title

   for which the applicant applied. Analysis of the test data by classification title shows that of the

   21 titles, 8 have statistically significant differences that are unfavorable to minority applicants

   and 13 have no statistically significant difference in the pass rates of minorities as compared to

   Caucasians.

          Potential lost earnings are calculated for applicants to classification titles where there

   were statistically significant differences in the pass rates of the tests. Shortfalls in expected

   hiring are calculated based on the difference in pass rates and the number of individuals that



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   were hired by the city for each of these classification titles. Potential lost earnings are based on

   the size of the shortfalls and the salaries and benefit rates for those positions at the time of

   expected hire. Salaries and benefits are grown at the same annual rate as individuals who were

   hired by the city at that time and interest is added for past losses. The size of the shortfall is

   reduced over time to reflect the rate of turnover within these jobs at the city. Potential losses are

   then offset by the mitigation that applicants to these positions would be estimated to earn in

   alternative employment. The overall estimated potential economic losses are $310,695.

          I also reviewed the report and backup materials of Plaintiffs’ expert, Dr. Robert Bardwell.

   Dr. Bardwell’s analysis of the AccuPlacer test suffers from a number of critical flaws that render

   his conclusions misleading. It appears that Dr. Bardwell relied upon incomplete test data that is

   missing a significant number of test results during the period in question. Dr. Bardwell also

   could not, or chose not to analyze the data in a manner that controlled for the different testing

   requirements for each classification title. His analysis that combines all test takers into one

   single applicant pool does not properly reflect either the testing evaluation process or the

   application and hiring process at the city at that time. His analysis is not instructive with regard

   to the impact of the test on minority applicants for different classification titles and his

   conclusions based on that analysis are misleading. Further, without a proper analysis of the

   qualifications of the test takers, his conclusion that the test was racially biased is improper and

   without foundation.

          In addition, Dr. Bardwell’s contention that a one-tail test at the 5 percent level of

   significance is the proper evaluation of his statistical analysis is without scientific or legal

   foundation. The majority of social scientists rely upon a 5 percent level of significance with a

   two-tail test or when using a one-tail test, a 2.5 percent level of significance. By performing a



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   one-tail test without the corresponding reduction in significance level, Dr. Bardwell is

   advocating for an evaluation technique that increases the probability of finding a statistically

   significant difference. Further, his position is contrary to that relied upon by the federal courts,

   including the U. S. Supreme Court. While his choice of test and significance do not impact his

   analysis that is based on flawed data and methodology, it could impact a proper examination.

          Lastly, I reviewed the damage estimate of Dr. Bardwell. His estimate is based on a

   number of methodological flaws and speculative and unsupported assumptions which serve to

   greatly increase the potential economic losses. Dr. Bardwell’s shortfall estimate is overstated for

   two reasons. First, his shortfall includes classification titles in which there were no statistically

   significant differences in pass rates and therefore calculates a shortfall for minorities for whom

   there is no evidence supporting the allegations of test impact by race or ethnicity. Further, Dr.

   Bardwell bases his shortfall estimate on the number of positions posted rather than the number of

   hires that occurred during the time period. This serves to effectively grant damages for non-

   existent positions.

          Dr. Bardwell’s damages are also inflated by speculatively assuming that the damages

   would continue to accumulate from the time of hire and for the subsequent 17 years. He

   provides no foundation for this assumption and assumes that every potentially affected individual

   would work for the city for the entire 17 years. He makes no provision for turnover of any type.

          Dr. Bardwell’s damages are also inflated based on his estimate of mitigation earnings,

   which is based on the interrogatory responses of 25 of the over 900 potential class members. Dr.

   Bardwell does not indicate how these 25 individuals were chosen, but it is likely this is a non-

   random sample of the potential class. In addition to not meeting the scientifically valid principle




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